         Case
          Case2:12-cr-00113-JCM-VCF  Document 215-1
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 7                      UNITED STATES DISTRICT COURT
 8                           DISTRICT OF NEVADA
                                    -oOo-
 9
     UNITED STATES OF AMERICA,                   )
10                                               )   CASE NO. 2:12-cr-00113-JCM-VCF-6
                                                 )
11                 Plaintiff,                    )
                                                 )
12
                   v.                            )
13                                               )
     MICHELLE DELUCA,                            )
14                                               )
                   Defendant.                    )
15

16                                      [PROPOSED] ORDER

17          Based on the Government’s Unopposed Motion Dismiss the June 13, 2014 Petition for

18   Action on Conditions of Pretrial Release and to Cancel the September 4, 2014 Hearing on this

19   Petition (Doc. No. 215), IT IS SO ORDERED that:

20          (1) the June 13, 2014 Petition for Action on Conditions of Pretrial Release (Doc. No.

21             205) is DISMISSED; and

22          (2) The September 4, 2014 Hearing on this Petition (as referenced in Doc. No. 213) is

23             CANCELLED.

24                           August
            IT IS SO ORDERED this    29, 2014.
                                  ________ day of __________________ 2014.

25
                                                 ___________________________________
26                                               UNITED STATESDISTRICT JUDGE




                                                     1
